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United States District Court

District of Massachusetts _ _ 3
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United States of America re
Case No. 1:21-cr-10158-7-MLW-JGD
V.

(7) Thiago De Souza Prado

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Defendant, )

DEFENDANT’S MOTION FOR PRE-TRIAL RELEASE ON THE GROUNDS OF DURATION
OF HIS DETENTION AND DENIAL OF BAIL EXCEEDED THE LIMITATIONS OF THE DUE
PROCESS CLAUSE, U.S. CONST. AMEND. V. IN LIGHT OF UNITED STATES V.
GONZALES CLAUDIO, 806 F. 2D. 334 (2% CIR. 1986).

Now into court comes the charged defendant Mr. Prado utilizing his Pro Se capacity
to move this Honorable District Court to Revoke Mr. Prado’s Pretrial Detention on solid
grounds of Detention of defendant beyond 14 months exceeded the standards of Due
Process, U.S. Const. Amend. V., especially when the trial delay is caused from
codefendants waiting to see the outcome of Mr. Prado’s case, to decide if they will pled

guilty or not. In light of United States v. Gonzales Claudio, 806 F. 2d 334 (2" Cir. 1986).

Factual Background

On May 12, 2021 Mr. Prado was arrested on Boca Raton Florida, where he was
living with his wife and kids. After the pretrial services and the Honorable Magistrate

Judge agreed to release Mr. Prado from pretrial detention on the District of South Florida,

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the Honorable Judge Wolf revoked Mr. Prado’s release order and issued an order to Mr.

Prado stay detained and to be transported to Wyatt Detention Facility in Central Falls RI.

After Mr. Prado arrived on RI, he tried bail with the Honorable Magistrate Judge
Dein, and she denied Mr. Prado’s bail on the grounds of flight risk. Mr. Palmer defense
lawyer at that time decided to appeal that decision to the Honorable District Judge Wolf,

which consequently also denied Mr. Prado’s bail on the same grounds of flight risk.

After that date Mr. Prado decided to become a Pro Se litigant and file his pretrial

 

motions before this Honorable Court, on December 20, 2021, Mr. Prado filled an affidavit
in support of his pretrial motions, See; Doc # 260, asserting his speedy trial, but it got

denied by this Honorable Court together with other motions.

On June 21, 2022 after being detained for more than 14 months on pretrial
detention, Mr. Prado filled an additional Pro Se motion requesting a speedy trial. See;
Doc# 461. The Honorable Judge Wolf scheduled a pretrial conference hearing to be held
on August 24, 2022 one day after the final deadline for rule 11 hearings, pursuant to
discuss Mr. Prado’s motions, including the motion that Mr. Prado asserted his speedy trial

right.

On August 18, 2022 Mr. Prado filled another Pro Se motion seeking dismissal of the

 

aggravated Identity Theft charged against him. See; Doc # 515, this caused this Honorable
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District Court to cancel the hearing on August 24, 2022 and rescheduled his hearing for

September 1, 2022. See; Doc # 502.

Consequent to Mr. Prado’s Motions, 4 codefendants that was schedule to plead
guilty on August 23, 2022 decided to postpone their rule 11 hearings seeking to wait on
Mr. Prado’s outcome. Therefore, this Honorable Court decided to cancel Mr. Prado
September 1, 2022 hearing, and also stop the speedy trial clock till those 4 remained

codefendants decide if they will go to trial or pled guilty. See; Doc# 532.

Now Mr. Prado is suffering from longer than necessary pretrial detention
prejudice, because 4 codefendant’s ineffective lawyers that had decided to take a ride on

Mr. Prado’s motions, therefore causing delay on this Honorable Court Procedure.

Mr. Prado till today is over 16 months in pretrial detention without any trial date

yet, which constitutes a Due Process Violation of U.S. Constitution Amend. V.

Reasons to Grant Mr. Prado’s Motion

18 U.S.C. 3142(g)(1)-(2) SPECIFICALLY INSTRUCTS THE TRIAL JUDGE TO CONSIDER,
AMOUNG OTHER THINGS, THE NATURE AND CIRCUMTANCES OF THE OFFENSE
CHARGED AND THE WEIGHT OF THE EVIDENCE AGAINST THE DEFENDANT TO
DETERMINE WHETHER A DEFENDANT PRESENTS A RISK OF FLIGHT.

The Second Circuit Court of Appeal at the case of United States v Gonzales Claudio

has held that: Pretrial detention, on appropriate facts, to guard against the risk of flight is

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a valid means of regulation. It is entirely reasonable to conclude that a risk of flight is
more likely in circumstances where evidence indicates that a defendant has engaged in
terrorist activities and faces a substantial risk of being convicted of serious pending

charges and receiving significant punishment.

In Gonzalez Claudio’s case, he was one of the eight defendants appealing the
District Court order for pretrial detention. He was part of the seventeen defendants
indicted on August 28, 1985, for the 1983 Robbery of the Wells Fargo depot in West
Hartford, Connecticut. Responsibility for the robbery has been claimed by a group calling
itself Los Macheteros (the machete wielders), a paramilitary, terrorist organization
dedicated to achieving independence for Puerto Rico. Evidence presented to the District
Court in the course of the detention hearing strongly indicates that this organization has
been responsible for violent acts of terrorism, including the killing of two United States
servicemen in an attack on a bus and destruction of several Puerto Rico National Guard
planes at Muniz Air Base. The indictment alleges that the Wells Fargo robbery, in which
$7.6 million was taken, was carried out by Victor Gerena, who is a fugitive. The other
defendants are alleged to have played roles in the planning or the robbery or the
transportation of the stolen money from Connecticut to locations outside the continental

United States.

The appeals Court held that: Assessing the length of detention that has occurred

and the non-speculative aspects of future detention, the extent to which the prosecution
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bears responsibility for the delay in starting the trial, and the facts concerning risk of flight,
we concluded that the continued detention of Gonzales Claudio and Camacho-Negron
beyond fourteen months would exceed even the flexible standards od Due Process. In
reaching this conclusion we recognized that the release of these defendants upon
reasonable conditions creates a risk that they may flee. We are not indifferent to the
prospect. But the enforcement of all constitutional restraints upon Government in its
effort to administer the criminal law entails risk. Occasionally such enforcement creates
the risk that the person convicted of a crime may escape punishment. In this case the
enforcement of Due Process limits upon the duration of preventive detention creates the
risk that a person accused of a crime may avoid a trial that might result in conviction and
punishment. That risk is serious, but of at least equal gravity is the preventive detention
for fourteen months of defendants who are presumed innocent and whose trial to
determine guilty or innocent will not even begin until detention has at least eighteen
months. In mandating fundamental fairness, the Due Process Clause endeavors to set
outer limits at which risk to society must be accepted to avoid unconscionable

deprivations of the liberty of individuals.

Mr. Prado asserts that his law arguments is similar to the defendant Gonzales

Claudio, and the reason that Mr. Prado filled some Pro Se motions is not a valid reason to

 

violate his Due Process rights, in the case of Gonzales Claudio the defendants filled over

400 motions, and the Court did not held that to be any reason for the delay.
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The crux of the charged defendant Mr. Prado is that he is not facing any substantial
punishment, which will not make any sense to flee to avoid prosecution, actuality Mr.
Prado is really excited about his day on the Court to resolve this matter, he have 2
beautiful sons that need Mr. Prado support and a 68 years old mother that Mr. Prado will
be living with in Framingham Massachusetts. Mr. Prado alleged criminal conduct is not
near Gonzales Claudio conduct, plus Mr. Prado will comply with any condition of release

that the Court think is necessary and appropriate.

Mr. Prado asserts that by October 27, 2022 when all codefendants decide if they
will pled guilty or go to trial, Mr. Prado will have over 17 months in pretrial detention, and

he still not have a trial date for this matter.

MR. PRADO IS CHARGED WITH 18 U.S.C. 1349 CONSPIRACY TO COMMIT WIRE
FRAUD INCHOATE CONSPIRACY OFFENSE WHICH CHARGED WITHOUT THE
UNDERLYING OFFENSE IS NOT A “SERIOUS CRIME”, AND HE 1S NOT FACING ANY
SUBSTANTIAL PUNISHMENT, IF NOT ANY PUNISHMENT AT ALL.

The Government charged Mr. Prado for 1349 Conspiracy to Commit Wire Fraud,
1028A Aggravated Identity Theft, plus 6 or 8 points for enhancements. The Government
told this Honorable District Court that Mr. Prado was facing nine years sentence if lose
trial or something around 45 months if Mr. Prado decide to pled guilty. (Almost giving Mr.

Prado a heart attack).
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Mr. Prado asserts that the Government version of the guidelines is not accurate.
Starting with 1349 inchoate conspiracy offense does not have a penalty provision
(because Congress only punish conduct and not statutes), and 1349 charged without the
underlying offense is not a serious offense, Mr. Prado believes that this Honorable District
Court have the discretion to give anything between O to 6 months sentence for a no-
serious 1349 Simple Conspiracy offense. (if we look to Lewis v. United States.
Interpretation of petty or serious offenses); and United States v. Shabani, 513 US 10 (1994)

(Shabani held that conspiracy only make the agreement itself the Actus Reus, and not the object

of the conspiracy).

Mr. Prado asserts that 1028A Aggravated Identity Theft conviction cannot stand
because Mr. Prado does not have the factual basis, and his conduct does not qualify for
the 1028A enhancement, and it violate the element clause in light of United States v.
Taylor, 142 S. CT. 2015 (2022), nor any evidence show that Mr. Prado commit any wire
fraud which is the essential element for 1028A (Use of someone identification), and also

is the object of this conspiracy.

Mr. Prado also asserts that the Government does not have jurisdiction to
prosecute any sentence enhancements, because it is not offenses against United States,
and after Apprendi, Blakely, Alleyne, and Haymond now states that the district court is
now limited to the factual findings that’s derived from the jury verdict. As at the time of

the Fifth and Sixth Amendment adoption, a judge’s sentencing authority derives from,
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and is limited by, the jury’s factual finding of criminal conduct. A jury must find beyond a
reasonable doubt every fact “which the law makes essential to [a] punishment” that a
judge might later seek to impose. Blakely v. Washington, 542 U.S. 296, 304, 124 S. Ct.

2531, 159 L. Ed. 2d 403.

Mr. Prado respectfully ask this Honorable District Court to take in consideration
that if Mr. Prado is facing any jail time, he probably already pay for it, and also that Mr.

Prado lost almost everything because this imprisonment including his marriage.

Conclusion

Based upon the above cited legal arguments the charged defendant prays for his relief

sought within the interest of justice

Request for Oral Argument

Pursuant to Local Rule 7.1 (d.), the defendant, Mr. Prado, is respectfully requesting
all oral argument on his motion to revoke pretrial detention because he believes that such

argument will be of assistance of the court.

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